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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WAYNE BALIGA, derivatively on behalf of
 LINK MOTION INC. (F/K/A NQ MOBILE INC.)

                              Plaintiff,
                -against-                             Civil Action No.: 1:18-cv-11642

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.), VINCENT WENYONG SHI, JIA LIAN,
 XIAO YU,                                             NOTICE OF MOTION FOR
                                                      DECLARATORY RELIEF AND
                              Defendants,             MODIFICATION OF THE
                                                      RECEIVERSHIP ORDER
                -and-

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.),

 Nominal Defendant.


       PLEASE TAKE NOTICE that upon the accompanying Declaration of Michael James

Maloney, dated March 1, 2021, the exhibits annexed thereto, the accompanying Declaration of

Vincent Wenyong Shi (“Shi”), the accompanying Memorandum of Law, the accompanying

proposed Complaint, and upon all prior proceedings, pleadings, and filings in this action,

Defendant Shi, by his undersigned counsel, will move this Court, located at the United States

Courthouse for the Southern District of New York, 500 Pearl Street, New York, New York, before

the Honorable Debra C. Freeman, United States Magistrate Judge, at a date and time to be

determined by the Court, for an Order granting the following relief:

       (1)     Declaring that the statute of limitations applicable to be equitably tolled pending

the dissolution of the receivership all statutes of limitations applicable to claims by nominal

Defendant Link Motion Inc. against DLA Piper LLP (US), Caryn Schechtman and Marc A.




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Silverman for legal malpractice and, in the alternative, breach of fiduciary duty (the “Claims”);

and

       (2)     Modifying paragraph 2(e) of the receivership order (Dkt. No. 26) to grant Shi the

authority to retain counsel on behalf of the Company to commence an action against DLA Piper

LLP (US), Caryn Schechtman and Marc A. Silverman for the Claims;

       (3)     granting such other and further relief as the Court deems just and proper;

       PLEASE TAKE FURTER NOTICE that the time to serve and file papers in opposition

to and/or in further support of this motion shall be governed by Local Rule 6.1(b).

 Dated: New York, New York                          Respectfully submitted,
        March 1, 2021
                                                    FELICELLO LAW P.C.


                                                    By:_/s/ Michael James Maloney__
                                                        Michael James Maloney
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                                                    Attorneys for Defendant Vincent Wenyong Shi




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